
Upon consideration of the petition filed on the 12th day of July 2005 by Plaintiff (Donald Lee Bell) in this matter for discretionary review of the decision of the North Carolina *650Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 1st day of December 2005."
Upon consideration of the petition filed on the 12th day of July 2005 by Plaintiff (Gary Ray Schenk, Sr.) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 1st day of December 2005."
